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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

MICHAEL L. SHAKMAN, ET AL.,                            )
                                                       )      Case No. 69-cv-2145
                PLAINTIFFS,                            )
                                                       )      Magistrate Judge: Sidney I. Schenkier
v.                                                     )
                                                       )
CLERK OF COOK COUNTY, ET AL.,                          )
                                                       )
                DEFENDANTS.                            )

                       DEFENDANT’S POST-HEARING SUBMISSION

         Defendant Clerk of Cook County (“Clerk”), by and through her attorneys, respectfully submits

the Clerk’s post-hearing submission.

                                             Introduction

         In December 2018, Karen Yarbrough became Clerk of Cook County, replacing David Orr

who held office since 1990. Despite having never challenged any of Clerk Orr’s practices in his long

tenure, shortly after Clerk Yarbrough won the nomination for Clerk (she was unopposed in the

primary and would go on to be unopposed in the general election), Plaintiffs sought to have the Clerk’s

office enter into a Supplemental Relief Order. Def. Resp. Ex. F, Dkt. #6588-7. No SRO was entered

into. After Clerk Yarbrough took office, Plaintiffs almost immediately began investigating the Clerk’s

office. Def. Resp. Ex. E, Dkt. #6588-6. On September 6, 2019, not even a year after Clerk Yarbrough

took office, Plaintiffs filed the Motion for Supplemental Relief. Dkt. #6486.

         Plaintiffs’ Motion for Supplemental Relief alleges the Clerk’s office violated the 1972 and 1991

consent decrees by (1) implementing a policy of rotating supervisors in the Clerk’s municipal offices;

(2) making oral modifications to written employment policies; (3) placing “political allies” in non-

exempt positions; and (4) sending text messages to employees regarding fundraising events. Dkt

#6486.
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        Plaintiffs are seeking to enforce a decree that was entered without standing, and a decree that

is not justiciable. But even if Plaintiffs did not have these subject matter deficits, they have no evidence

that either decree was violated. Instead, Plaintiffs are asking this Court to grant them the power to run

the Clerk’s office as they would see fit, without any consideration for who the voters selected, based

on nothing more than speculation and inuendo. For reasons that follow, this Court should find (1) it

lacks subject matter jurisdiction to enforce the decrees; or (2) Plaintiffs failed to establish any violation

and that the Decrees should be vacated.

  I.    Plaintiffs bear the burden of proof, by clear and convincing evidence, that the Clerk’s
        office violated the 1972 or 1991 Decree.

        “Shakman is a judicial decree; a violation of that decree is contempt of court.” Smith v. Chicago,

769 F.2d 408, 411 (7th Cir. 1985). Two decrees are at issue for the Clerk’s office in Plaintiffs’ motion:

1) the 1991 “Hiring” Decree, and 2) the 1972 “Firing” Decree. The 1991 Decree prohibits the Clerk’s

office from making hiring decisions based on any political condition or factor. Exh. A, 1991 Decree.

The 1972 Decree prohibits the Clerk’s office from conditioning an existing employment relationship

on an employee’s political activity, and prohibits the Clerk’s office from coercing employees to make

financial political contributions. Exh. B, 1972 Decree.

        A court’s “civil contempt power rests in its inherent limited authority to enforce compliance

with court orders and ensure judicial proceedings are conducted in an orderly manner.” United States

v. Dowell, 257 F.3d 694, 699 (7th Cir. 2001). To be held in civil contempt, a person must have violated

an order or decree that sets forth in specific detail an unequivocal command. Id. at 699. It is not

necessary to a finding of contempt that a violation was “willful.” Id. Rather, it is sufficient that a party

“has not been reasonably diligent and energetic in attempting to accomplish what was ordered.” Id.

The party asserting a violation of a judicial order has the burden of proof by clear and convincing

evidence. Shakman v. Democratic Org. of Cook County, 2009 U.S. Dist. LEXIS 25792, *8 (N.D. Ill. 2009).



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           As a threshold matter, “Plaintiffs must prove that a political reason or factor was the cause of

the complained of decision” to prove a violation of either the 1972 or 1991 Decree. Shanahan v. City

of Chicago, 82 F.3d 776, 780 (7th Cir. 1996). That is, Plaintiffs must prove that Clerk’s office

decisionmakers were aware of the applicants’ or employees’ political affiliations. Chi. Police Sergeants

Ass’n v. City of Chicago, 2010 U.S. Dist. LEXIS 91747, *16 (N.D. Ill. 2010); see also Kozlowski v. Fry, 238

F. Supp. 2d 996, 1022 (N.D. Ill. 2002) (granting summary judgment on a Shakman claim because

“Plaintiffs do not present the Court with any evidence that Defendants made employment decisions

based on the political affiliations”). Furthermore, speculation is insufficient to carry Plaintiffs’ burden.

SportFuel, Inc. v. PepsiCo, Inc., 932 F.3d 589, 601 (7th Cir. 2019). Speculation cannot create a question

of fact, much less provide clear and convincing evidence. Id.

    II.    The Clerk’s office has not violated the 1991 Decree.

           In 1991, the Clerk’s office entered into a Consent Decree with “Michael L. Shakman and Paul

M. Laurie, individually and on behalf of the classes they represent under Counts I-VI of the First

Amended Complaint.” Dkt. #6486-1. 1 The 1991 Decree permanently enjoined the Clerk from directly

or indirectly:

           conditioning, basing, or knowingly prejudicing or affecting the hiring of any person as
           a Governmental Employee (other than for Exempt Positions) upon or because of any
           political reason or factor including, without limitation, any Employee or prospective
           Employee’s political affiliation, political support or activity, political financial
           contributions, promises of such political support, activity or financial contributions or
           such Employee or prospective Employee’s political sponsorship or recommendation.

Dkt. #6486-2, p. 5.

           The Clerk was also required to file a Plan of Compliance to implement the 1991 Decree. See,

Exh. C, 1991 Plan of Compliance. This Plan was approved by the Court. Id. The Clerk’s Plan of

Compliance was amended on May 11, 1993. See, Exh. D, 1993 Amended Plan of Compliance. Both



1   Plaintiff IVI-IPO was not a party to the 1991 decree. See, Clerk’s Sur-Reply, Dkt. #6760, pg. 2.

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the original and amended Plan of Compliance terminated on June 1, 2002. Id. Any requirement that

the Clerk’s office comport with the hiring procedures therein terminated at this time.

          Plaintiffs allege the Clerk’s office violated the 1991 Decree by placing “political allies” in non-

exempt positions. Dkt. #6486. In their Motion, Plaintiffs referred to several employees who were

hired into exempt positions. 2 Id. Now, based on the evidence introduced during the evidentiary

hearing, it appears they have shifted their allegations to focus on employees not referenced in their

motion. But there is still no evidence in the record to show the Clerk’s office made any hiring decision

based on a political factor or condition. In fact, there has been no evidence presented to prove that

any decisionmaker at the Clerk’s office even knew the political activity or support of any individual it

hired or did not hire.

             a. Clerk Yarbrough has established hiring practices for non-exempt employees
                that exceed the requirements of the 1991 Decree.

                       i. The 1991 Decree does not require that the Clerk’s office use a
                          “competitive process” when hiring non-exempt employees.

         The Clerk’s hiring Plan terminated on June 1, 2002. Exh. D. All procedures for hiring required

under the Plan terminated at that time. As of today, the 1991 Decree would only prohibit the Clerk’s

office from basing any hiring decision on a political condition or factor. Dkt. #6486-2, p. 5.

Accordingly, to prove the Clerk’s office violated the 1991 Decree Plaintiffs must prove, by clear and

convincing evidence, that “a political reason or factor was the cause of the complained of decision.”

Shanahan, 82 F.3d at 780. It is not enough for Plaintiffs to speculate that the Clerk’s office should have

made a different hiring decision or assert that they do not believe that the Clerk’s office utilized the

correct hiring practices. Lisle v. Welborn, 933 F.3d 705, 720 (7th Cir. 2019).




2 As the Clerk’s office argued in its Response to Plaintiffs’ Motion, Timothy Curry and Cynthia Soto were hired into

Exempt Positions. Dkt. 6588, pg. 14-15. Although Plaintiffs have now shifted their argument by introducing various
documents related to hiring of other employees into evidence, none of these documents prove that an individual was hired
into a non-exempt position based on a political factor or condition.

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                    ii. Plaintiffs failed to prove that the Clerk’s office hired any applicant based
                        on the applicant’s politics.

        When Clerk Yarbrough took office in December 2019, the Clerk’s office did not have a written

policy for filling positions in the office. Testimony of Clerk’s Office 30(b)(6) Witness, pg. 45. Since

Clerk Yarbrough has taken office, the Clerk’s office has developed an extensive written policy to

govern hiring decisions going forward. Def. Exh. 1, CCC0034765-CCC0034785. Supervisors were

also involved in the hiring process for the first time. 3/3/20 Testimony of George Tserotas, pg. 188.

And, the human resources department ensured that interviewers were accurate in their notes. .3/3/20

Testimony of Dawn Nowak, pg. 68. These specific policies and procedures are not required by the

1991 Decree, yet the Clerk has sought to ensure hiring policies are formalized and followed since she

took office in 2018.

        Attempting to use those reforms against Clerk Yarbrough, Plaintiffs have introduced score

sheets for several positions filled at the Clerk’s office since she took office (Pltfs. Exhs. 41-49, 57-67),

but have not introduced any evidence that any individual was hired based on a political factor. For

example, Plaintiffs have presented score sheets of individuals who interviewed for the position of

Director of Human Resources. Yolanda McDonald, who was ultimately hired, scored second highest

to Sheree Jackson. Pltfs. Exh. 55, Director of Human Resources Scoring Chart. However, the Clerk’s

office discovered that Ms. Jackson had not completed her bachelor’s degree, which is a minimum

qualification for the Director of Human Resources position. Def. Exh. 18, Job Description – Director

of Human Resources; Def. Exh. 19, Sheree J. Jackson, Resume. As a result, Ms. Jackson was

disqualified and Ms. McDonald was offered the position. Pltfs. Exhs. 55, 56, Letter to Yolanda

McDonald extending offer.




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         In addition, Plaintiffs suggest Valirie Bryant, hired as a clerk in the Maywood office, was hired

based on a political factors. 3 There is no evidence that any decisionmaker at the Clerk’s office knew

who Ms. Bryant’s mother was before she was hired. Instead, Mr. Steele testified that he did not know

who her mother was. 3/10/20 Testimony of Byron Steele, pg. 365-366. Even if someone at the Clerk’s

office had known Ms. Bryant’s mother was involved with the SEIU, that is irrelevant as SEIU is the

union that represents most of the Clerk’s office employees. The supervisors are SEIU members. Pltfs.

Exh. 12, CCC01453. George Tserotas, the Maywood supervisor who was part of the interview panel

for Ms. Bryant, is a SEIU member. 3/3/20 Testimony of George Tserotas, pg. 137. It is also important

to note that the SEIU is not a political organization. Finally, the interview forms for Ms. Bryant were

given to Tawanna Gill, the Deputy Clerk of Human Resources who had been hired into that position

under Clerk Orr. 3/3/20 Testimony of George Tserotas, pg. 130. There is no evidence that anyone at

the Clerk’s office even knew Ms. Bryant’s mother was involved in the SEIU, or that she was hired

because of her mother, much less that her hiring was a political decision.

         Plaintiffs further presented speculative evidence regarding Hernan Ramirez. Ms. Nowak

testified that Mr. Ramirez, an employee at the Clerk’s office, marched in the Chicago Pride Parade for

Karen Yarbrough. 3/3/20 Testimony of Dawn Nowak, pg. 65. She said she believed Mr. Ramirez,

hired initially to serve as a clerk in Bridgeview, was kept in the Chicago office because she saw a photo

of Mr. Ramirez on Facebook with Mr. Ramirez marching for the Clerk’s campaign in the Chicago

Pride Parade. Id. But, Citizens to Elect Karen Yarbrough did not march in the Chicago Pride Parade

in 2019. 3/6/20 Testimony of CEKY 30(b)(6), pg. 223. The Clerk’s office in 2019, however,

participated in the Pride Parade, as did other local government offices. 3/10/20 Testimony of Byron




3
 The Clerk’s office has attempted to reach Ms. Bryant to reach a stipulation related to this issue. However, Ms. Bryant
has taken sick days, as well as the Clerk’s office administering the primary election and determining response to the
COVID-19 pandemic.

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Steele, pg. 367-68. Regardless, there is no evidence that anyone in the Clerk’s office that hired Mr.

Ramirez knew of his political activities, if any. And, there is no evidence at all that Mr. Ramirez was

hired based on a political factor.

        To violate the Decree, the Clerk’s office must know of the political activity of each applicant

to prove that the Clerk’s office wanted to favor one applicant over another. Shanahan, 82 F.3d at 780.

Throughout the evidentiary hearing, Plaintiffs presented no evidence to prove by any standard that the

Clerk’s office hired any applicant based on a political condition or factor. Plaintiffs’ rely on layer upon

layer of speculation in an attempt to piece together an argument that asks this Court to make

unsupported inferences based on no clear evidence.

            b. Plaintiffs failed to prove that the Clerk’s office hired any Executive Assistant
               based on the applicant’s politics.

        Plaintiffs’ introduced evidence related to executive assistants. Pltfs. Exh. 65-67, 75, 76, 80, 81.

The Executive Assistant positions that Plaintiffs have entered into evidence are direct reports to the

Clerk’s senior management team--all Exempt Employees. The Seventh Circuit has found that these

positions may be hired through a process different than the typical non-exempt hiring process because

such employees qualify as “confidential” employees. Benedix v. Vill. of Hanover Park, 677 F.3d 317, 319

(7th Cir. 2012); Meeks v. Grimes, 779 F.2d 417, 423 (7th Cir. 1985).

          i.    The Court has recognized that an Executive Assistant may be hired through
                the same process used by the Clerk’s office.

        The Seventh Circuit explained that “it is an important part of the new officeholder’s own right

of association to be able to choose who to work with, the better to promote his ideas and policies.”

Benedix, 677 F.3d at 319 (7th Cir. 2012). This reasoning extends to both policy making and confidential

positions. Id. at 320. These “confidential” positions work in direct and constant contact with exempt

employees. Meeks, 779 F.2d at 423 (7th Cir. 1985).




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        This Court in the Shakman lawsuit has previously approved policies and procedures that

permitted the City of Chicago to use the same process for hiring “private secretaries or assistants” as

the Clerk’s office has used to hire executive assistants. In 2014, the City of Chicago and the Plaintiffs

filed their Joint Motion for Setting a Hearing Date and for a Finding of Substantial Compliance and

Dismissal of the City of Chicago. Dkt. 3762. To support a finding of substantial compliance, the City

was required to submit a “Hiring Plan” for court approval. Dkt. 3762-1. In the City’s Hiring Plan, this

Court approved the City’s statement that “Some hires by their nature require greater management

discretion in selection. These include Private Secretaries or Assistants assigned to Exempt

Employees..” Dkt. 3762-1, pg. 28. As a result, the Hiring Plan permitted these positions to be filled

without using any specific selection process. Id. Similarly, here, the executive assistants are assigned to

exempt employees on the Clerk’s senior management team. Def. Exh. 1, CCC0034778. Thus, the fact

any executive assistant was hired without following the process used for other non-exempt positions

is not evidence of a violation of the 1991 Decree.

          ii.   There is no evidence that any executive assistant was hired based on her
                political activity.

        Plaintiffs have also presented no evidence that any executive assistant was hired based on

politics. Again, Plaintiffs’ seem to rely on layers of speculation in an attempt to cobble together

evidence that politics could, possibly have been a factor in the decision. This is not enough to prove a

violation of the Decree by clear and convincing evidence.

        While this is not an employment case, the political discrimination standard applied when an

employee alleges a violation of the Shakman decrees is informative here. To make out a prima facie case

of political discrimination, a plaintiff must show: 1) that the plaintiff’s conduct was constitutionally

protected, and 2) that the protected conduct was a substantial or motivating factor in the employment

decision. Hall v. Babb, 389 F.3d 758, 762 (7th Cir. 2004). “It is not enough to show only that the plaintiff

was of a different political persuasion than the decisionmakers or the successful applicant.” Id.

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Plaintiffs are required to present specific evidence that the Clerk’s office acted with knowledge of an

employee’s political affiliation and took action because of the political affiliation. Sebastian v. City of

Chicago, 2008 U.S. Dist. LEXIS 60570, *110-111 (N.D. Ill. 2008). “In doing so, a plaintiff cannot rely

on speculation or opinions of non-decision makers as proof that the defendants acted because of

political affiliation.” Id.

         Four individuals were hired as executive assistants to the Clerk’s senior management team: 1)

Holly Figiuolo was hired as the Executive Assistant to the Deputy Clerk of Elections; 2) Belle

McClandon and Wendy Johnson were hired successively as the Executive Assistant to the Clerk for

Government Affairs; and 3) Monica Samuels was hired as the Executive Assistant to the Chief Deputy

Clerk and Chief Legal Counsel. Plaintiffs suggest that Ms. Figiuolo’s “connections are very clearly set

forth” in interviews with individuals from the Cook County Assessor’s 4 office. (Brian Hays, 3/16/20,

pg 296) But, Plaintiffs again fail to introduce any evidence that Ms. Figiuolo was hired based on any

“connections” she may or may not have. Plaintiffs seem to rely on the fact that Ms. Figliuolo was

hired without a competitive process. But, as the Seventh Circuit and this Court recognizes, executive

assistants do not need to be hired through a competitive process due to the nature of their work.

Instead, Ms. Figiuolo has years of experience as an assistant, making her qualified for the position.

Plfs. Exh. 80, Holly Figliuolo Resume.

         Each of the individuals hired as executive assistants were hired into a position that interacts

closely and regularly with exempt employees. The fact they were hired without a specific “competitive”

process is not a violation of the 1991 Decree. There is no evidence anyone in the Clerk’s office knew

if any of these individuals engaged in political activity, or what those activities may have been. Thus,

there is no evidence these individuals were hired based on a political reason.



4And whatever evidence there is about why she was hired in the Assessor’s office is not evidence of the Clerk’s office’s
hiring decision.

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          iii.     Plaintiffs Michael L. Shakman, Paul M. Lurie and the classes they represent
                   lack standing to enforce the 1991 Decree, and the IVI-IPO is not party to the
                   Decree. 5

         “Voters, taxpayers or residents voicing generalized complaints are not sufficient to justify the

federal courts’ intrusion into the workings of the States.” O’Sullivan v. City of Chicago, 396 F.3d at 843,

857 (7th Cir. 2005). In O’Sullivan, the Seventh Circuit addressed the district court’s decision to vacate

the City of Chicago’s consent decree. Id. That decree had been entered in 1983, following the Seventh

Circuit’s decision in Shakman I holding Plaintiffs had standing to bring their firing claims as candidates

and voters. The City argued the plaintiffs lacked standing to enforce the decree, however, because of

the Seventh Circuit’s Shakman II ruling. The ruling held that Plaintiffs lacked standing to bring their

hiring claims as candidates and voters. Id. The O’Sullivan court held that “[t]he problem with the City’s

present position is that it ignores the procedural posture of this case.” Id. at 867. The problem for the

City was “at the time that the district court issued its 1979 order (on which the 1983 Consent Decree

was based) the voter-plaintiffs had standing, and the dispute was within the court’s subject matter

jurisdiction.” Id. (internal quotation and citation omitted).

         Plaintiffs’ Motion presents the opposite problem. When the 1991 Decree was entered,

Shakman II had been the law for four years. Shakman v. Dunne, 829 F.2d 1387, 1393 (7th Cir. 1987).

Under Shakman II, Plaintiff lacked standing to bring their hiring claims. Id. Nothing changed between

Shakman II and when this Court approved the 1991 Decree. “Under such circumstances, when a

federal court ‘has decided the question of the jurisdiction over the parties as a contested issue, the




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  Plaintiffs’ questioning suggests they may argue that the Clerk’s office did not maintain all documents because the
supervisors were not asked for materials related to the rotation program, and exempt employees were not specifically asked
to maintain any political documents on personal devices. This argument highlights the standing concerns presented by the
Shakman litigation. Plaintiffs attempt to argue they have standing to enforce the Decrees based on the interests of
employees at the Clerk’s office, while also arguing that the Clerk’s office should have exerted control over those same
employees to retain documents for this litigation. All while Plaintiffs claimed a common-interest privilege with the
supervisors. To be clear, there is no evidence in the record that any relevant documents were destroyed after the Plaintiffs’
motion was filed.

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court in which the plea of res judicata is made has not the power to inquire again into that jurisdictional

fact.’” O’Sullivan, 396 F.3d at 866, quoting Stoll v. Gottlieb, 305 U.S. 165, 172 (1938). As a result, the

1991 Decree cannot be enforced because the 1987 Shakman II decision held the claims “settled” in

the 1991 Decree lacked the necessary standing. Accordingly, this Court should find the 1991 Decree

is void. O’Rourke Bros., Inc. v. Nesbitt Burns, Inc., 201 F.3d 948, 951 (7th Cir. 2000) (“A judgment is void

only if the court which rendered it lacked jurisdiction of the subject matter or of the parties, or if it

acted in a manner inconsistent with due process of law.”) Clerk Orr could not waive standing in 1991,

because constitutional standing requirements cannot be waived. Korte v. Sebelius, 735 F.3d 654, 668 (7th

Cir. 2013).

        Plaintiffs now attempt to rely on the addition of the IVI-IPO as a Plaintiff to remedy their

standing issues. See, 3/13/20 Testimony of David Igasaki, pg. 21. But, IVI-IPO was not added as a

party to the case until April 24, 1992. Exh. E, Order granting leave to file supplement to first amended

complaint. The IVI-IPO does not cure Plaintiffs standing problem. See Clerk’s Sur Reply, Dkt. #6760,

pg. 9-10.

III.    The Clerk’s office has not violated the 1972 Decree.

        Under the 1972 Decree, the Clerk is “permanently enjoined from conditioning, basing or

knowingly prejudicing or affecting any term or aspect of governmental employment, with respect to

one who is at the time already a governmental employee, upon or because of any political reason or

factor.” Dkt. #6486-1, p. 4. Additionally, the 1972 Decree prohibits compulsory or coerced political

financial contributions by any governmental employee to any individual or organization. Id. Still,

“governmental employees may engage on a voluntary basis, on their own time, in any lawful political

activity (including the making of political financial contributions).” Id.

        Plaintiffs allege three actions by the Clerk’s office violated the 1972 Decree: (1)The rotation

of supervisors throughout satellite offices; (2) Oral modification of employment policies; and (3)Two


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text messages sent by exempt employees to non-exempt employees that included a flyer for a Summer

Solstice Fundraiser in support of Karen Yarbrough. Plaintiffs have presented no evidence to support

their claims.

             a. The supervisor rotation was not implemented for a political purpose.

         To make out a prima facie case of political discrimination, a plaintiff must show: 1) that the

plaintiff’s conduct was constitutionally protected, and 2) that the protected conduct was a substantial

or motivating factor in the employment decision. Hall v. Babb, 389 F.3d 758, 762 (7th Cir. 2004). “It is

not enough to show only that the plaintiff was of a different political persuasion than the

decisionmakers...” Id. If a plaintiff can make the prima facie showing, the burden shifts to the defendant

to demonstrate a legitimate, nonpolitical reason for the employment decision. Id.

                       i. There is no evidence in the record that the Clerk’s office knew of the
                          supervisors’ political activities.

         “The threshold question [in proving political discrimination] is whether the defendants even

knew about the political activities.” Hall, 389 F.3d at 762. That is, the Clerk’s office must have wanted

the supervisors to quit based on their political activity, or inactivity. Dawn Nowak, George Tserotas,

Lana Yacilla, and Carolyn Harris all testified at length during the evidentiary hearing. Yet, not one of

them testified that any decisionmaker at the Clerk’s office was aware of their political activity. In fact,

the supervisors provide no testimony to demonstrate what their own political beliefs are.

         There is no evidence in the record that the anyone at the Clerk’s office knew anything about

the supervisors’ political beliefs or association, or lack thereof. 6 Instead, Plaintiffs suggest that the

supervisor rotation must be political because two supervisors (Angela Wright Madison and Morris

Torres) were excluded. But Plaintiffs also did not introduce any evidence to show any political reason



6 Dawn Nowak testified she is an alderman in Palos Heights (3/3/20 Testimony of Dawn Nowak, pg. 82) and Erica

Sanchez testified she was aware of this fact, but there was no evidence regarding the political beliefs or associations
affiliated with Ms. Nowak’s position as alderman.

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determined why those two supervisors were not required to rotate. The only evidence in the record

related to Angela Wright-Madison is Ms. Nowak’s testimony that Ms. Wright-Madison previously

worked for the Cook County President. (3/3/20 Testimony of Dawn Nowak, pg. 43) Obviously,

working for a county official is not inherently a political activity, otherwise all former County

employees would be barred from being hired in any other County office. Instead, it makes sense that

a county government office would want to hire an individual that has previous experience in county

government. Additionally, the only evidence in the record related to Morris Torres is Ms. Harris’ and

Ms. Nowak’s testimony that his sister is married to an Alderman. 3/3/20 Testimony of Dawn Nowak,

pg. 42; 3/3/20 Testimony of Carolyn Harris, pg. 277. But, there is no evidence at all that Morris

Torres, himself, was political, or that anyone at the Clerk’s office knew of his political activity, if any.

                    ii. Morris Torres and Angela Wright-Madison were excluded from the
                        supervisor rotation because they perform different jobs than the
                        supervisors who rotated, not for “political reasons.”

        More importantly, there is substantial evidence that provides a valid reason why Ms. Wright-

Madison and Mr. Torres were excluded. Although the supervisors’ grievance stated that the two

supervisors were excluded for “political reasons,” these supervisors were not included because they

performed the “back office” duties of accounting (Mr. Torres) and genealogy (Ms. Wright Madison),

exclusively. Pltfs. Exh. 10, Grievance submitted by attorney. Despite claiming “the only rational”

reason for Mr. Torres and Ms. Wright Madison being excluded was political purposes, Ms. Nowak

testified that she did not know how the accounting department Mr. Torres supervised worked. 3/3/20

Testimony of Dawn Nowak, pg. 73-74. She testified that she only knew how the genealogy room

downtown worked from her time working there. 3/3/20 Testimony of Dawn Nowak, pg. 76. She did

not know if other supervisors would know how the downtown genealogy room worked. Id. Similarly,

Mr. Tserotas testified that Ms. Wright-Madison’s job was handling genealogical records. 3/3/20

Testimony of George Tserotas, pg. 146.


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         Finally, Markham supervisor Carolyn Harris 7 testified that she understood why Mr. Torres and

Ms. Wright-Madison were not included in the rotation. 3/3/20 Testimony of Carolyn Harris, pg. 266.

Ms. Harris stated simply that Mr. Torres and Ms. Wright-Madison “do different jobs that we do.” Id.

at pg. 267.

                       iii. The OIIG investigated the rotation policy and found it was not
                            implemented for political purposes.

         Ms. Nowak testified she contacted the Office of the Independent Inspector General (“OIIG”)

in relation to the rotation. Id. at 88. The OIIG initiated a review of the rotation. Def. Exh. 3,

CCC00141. Ms. Nowak was interviewed by an OIIG investigator in the course of the investigation.

3/3/20 Testimony of Dawn Nowak, pg. 56; Def. Exhs. 9, CCC00644; 14, CCC01264. After the

investigation, the OIIG found that the Clerk’s office offered a good faith rationale upon which to

implement the rotation and that the rotation was designed to further a legitimate goal of the office.

Def. Exh. 3, CCC00143. The OIIG “identified no evidence to support the conclusion that the

[rotation] is being implemented pretextually for political purposes or that two supervisors were

inappropriately and for political reasons excluded from participation.” Id. Plaintiffs have provided no

additional evidence to contradict this finding.

              b. Plaintiffs have presented no evidence that employment policies were orally
                 modified, or that any employee was adversely impacted by such modification.

         The only evidence Plaintiffs introduced related to the modification of employment policies

came from George Tserotas. Mr. Tserotas testified that Erica Sanchez told him not to put a state file

number on the application for death records. 3/3/20 Testimony of George Tserotas, pg. 114-115. But

there is no evidence that Mr . Tserotas was impacted by this alleged modification in any way. Instead,




7Carolyn Harris is one of the supervisors Plaintiffs claim the Clerk’s office discriminated against through the rotation. Yet,
Plaintiffs treated her as an adverse witness. (See 3/3/20 Testimony of Carolyn Harris, pg. 239) The fact Plaintiffs treated
one of the supervisors as an adverse witness in and of itself should demonstrate Plaintiffs’ argument is meritless. How can
a supervisor be adverse to Plaintiffs position unless the supervisor contradicts Plaintiffs position?

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he simply stated that Ms. Sanchez asked him to use a different system to improve efficiency. There is

no other evidence that any employment policies were orally modified.

            c. Dawn Nowak and Sonia Kahlil were not compelled or coerced to make a
               political contribution.

        In their Motion, Plaintiffs alleged “the Clerk has been soliciting non-exempt Clerk employees

for political donations. On information and belief, the Clerk solicited these political contributions

through text messages sent to the Clerk employees’ private cell phone numbers the Clerk obtained

from employment records. (Ex. F.)” Dkt. 6486. Pg. 9. That turned out to be false. Instead, Plaintiffs

provided evidence of two text messages. The first Erica Sanchez sent to Dawn Nowak that included

a flyer for the Summer Solstice fundraiser for Karen Yarbrough. Pltfs. Exhs. 94; 95. Ms. Nowak

testified that Ms. Sanchez told her it would be beneficial for her to attend the Summer Solstice. 3/3/20

Testimony of Dawn Nowak, pg. 64. But, Ms. Sanchez never told Ms. Nowak that attending the event

would be beneficial to her job in the Clerk’s office (as opposed to Ms. Nowak’s position as an

alderman). 3/3/20 Testimony of Dawn Nowak, pg. 82. Ms. Nowak said she did not ask Ms. Sanchez

to send her flyers about political fundraisers. 3/3/20 Testimony of Dawn Nowak, pg. 63. But Ms.

Sanchez testified that Ms. Nowak requested the flyer. 3/16/20 Testimony of Erica Sanchez, pg. 421.

Regardless, Ms. Nowak did not attend the event, she did not donate to Karen Yarbrough, Ms. Sanchez

did not ever follow up with her about the event, and no one else in the Clerk’s office said anything to

her about the event. (3/3/20 Testimony of Dawn Nowak, pg. 82).

        The 1972 Decree only prohibits compulsory or coerced political financial contributions by any

governmental employee to any individual or organization. Id. “[G]overnmental employees may engage

on a voluntary basis, on their own time, in any lawful political activity (including the making of political

financial contributions).” Dkt. #6486-1, p. 4. Ms. Nowak never contributed to Clerk Yarbrough’s

campaign. 3/3/20 Testimony of Dawn Nowak, pg. 83. Indeed, Ms. Nowak did not even react to the



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message she received related to the fundraiser. 3/3/20 Testimony of Dawn Nowak, pg. 83. Instead,

she just “ignored it.” 3/3/20 Testimony of Dawn Nowak, pg. 83.

        Plaintiffs have also introduced a text message from Jamica Davis to Sonia Kahlil, without any

additional information related to this text message. Pltfs. Exh. 109. From the face of the text message,

it is clear that Ms. Kahlil asked Ms. Davis to send her the flyer. There is no evidence in the record that

Ms. Kahlil was coerced in any way to contribute to Karen Yarbrough. Solicitation of a political

contribution, itself, is not a violation of the 1972 Decree. Instead, Plaintiffs’ must prove that the

contribution was compulsory or coerced. No such evidence was presented at the evidentiary hearing.

Thus, Plaintiffs have failed to prove that the text messages violate the decree.

            d. The 1972 Decree lacks subject matter jurisdiction because it was premised on
               a complaint that raised non-justiciable political questions.

        As the Clerk’s office argued in detail in its sur-reply to Plaintiffs’ Motion, the 1972 Decree is

based upon a complaint that presented non-justiciable political questions. Dkt. #6760, pg. 10-13. Even

if the Court were to find a violation, it should hold it lacks subject matter jurisdiction over the issues

raised in Plaintiffs’ Motion.

IV.     If this Court finds that Plaintiffs’ have standing and the 1972 was justiciable, the
        changes in fact and law justify vacating the Decrees.

        A federal court may only “enforce the terms of a consent decree as long as they are tailored

to rectify the federal constitutional violation.” Komyatti v. Bayh, 96 F.3d 955, 961 (7th Cir. 1996).

Modification of a consent decree is, therefore, appropriate “to relieve . . . officials from a provision

that no longer serves any valid federal purpose.” Id. at 964. Modification of a consent decree is

appropriate when there has been “a significant change either in factual conditions or in law.” O’Sullivan

v. City of Chicago, 396 F. 3d 843, 861 (7th Cir. 2005).

The Seventh Circuit has explained that “a party seeking modification of a consent decree does not

have to prove a grievous wrong . . . the party only ‘bears the burden of establishing that a significant


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change in circumstances warrants revision of the decree.’” Shakman v. City of Chicago, 426 F.3d 925,

931 (7th Cir. 2005) (“Shakman III”), citing, Rufo, 502 U.S. at 383. “The public interest is a particularly

significant reason for applying a flexible modification standard in institutional reform litigation

because such decrees ‘reach beyond the parties involved directly in the suit and impact on the public’s

right to the sound and efficient operation of its institutions.’” Id. If the moving party meets its burden,

the court should consider whether the proposed change is “suitably tailored to the circumstances.”

Id.Rule 60(b)(5) provides that the Court may relieve a party a final judgment or order if “the judgment

has been satisfied, released, or discharged; it is based on an earlier judgment that has been reversed or

vacated; or applying it prospectively is no longer equitable.” Fed. R. Civ. P. 60(b)(5).

             a. There has been a substantial change in the facts of the case since the Decrees
                were entered in 1972 and 1991.

        Since the last Decree was entered in 1991, voters of Cook County and employees at the Clerk’s

office now have avenues to ensure employment decisions are not based on any political reason or

factor. These avenues include the Office of the Independent Inspector General and the Ethics

Ordinance.

                     i. The Office of the Independent Inspector General (“OIIG”)

        “The purpose of the Office of Independent Inspector General is to detect, deter and prevent

corruption, fraud, waste, mismanagement, unlawful political discrimination or misconduct in the

operation of County government.” Municipal Code of Cook County § 2-283. The OIIG’s enabling

ordinance essentially codifies the terms of the Decrees into county law. The OIIG has the authority

to investigate any claim of unlawful political discrimination. Municipal Code of Cook County § 2-224.

If the OIIG finds an employee or office is guilty of unlawful political discrimination, the employee is

subject to discharge and the office holder is subject to removal. Municipal Code of Cook County § 2-

291(b). The OIIG is also responsible for reporting the detail of its work to the Cook County President



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and Board on a quarterly basis. Municipal Code of Cook County § 2-287. The Clerk’s office, as an

office of county government, is subject to this detailed oversight by the OIIG.

                      ii. Cook County Ethics Ordinance

         Under the Cook County Ethics Ordinance, every county official and employee of the county

is required to adhere to al applicable laws and regulations under the Ordinance. Every employee and

official also has the duty to report any violations, suspected violations, or other misconduct to the

Board of Ethics or the OIIG. Municipal Code of Cook County § 2-561. The Ordinance specifically

prohibits the coercion of political contributions from employees. Municipal Code of Cook County §

2-583. The Ordinance also prohibits any county official from making employment decisions based on

political activity. Id.

             b. There has been a substantial change in the law since the Decrees were entered
                in 1972 and 1991.

         Additionally, since the 1972 Decree was entered, the law regarding standing and justiciability

has changed considerable, as explained in detail in § I.B of Defendant’s Response to Plaintiffs’ Motion.

Dkt. 6588, pg. 4-8. In Evans v. City of Chicago, 10 F.3d 474, 482 (7th Cir. 1993), the Seventh Circuit held

“[u]nless there is a substantial claim under federal law, the district judge should not enter or continue

to enforce a consent decree affecting the operation of a governmental body.” The Evans court said

many things are more important that enforcing consent decrees, including “preserving democratic

governance, separating the judicial and political spheres, [and] respecting state autonomy in the

absence of a federal rule.” Evans, 10 F.3d at 482. The Clerk’s sur reply explains the changes in law in

length. Dkt. #6760.

             c. Plaintiffs’ claims offend the notions of federalism by intruding on the
                governmental processes of the Clerk’s office.

         Plaintiffs’ claims against the Clerk fly directly into the federalism concerns the Seventh Circuit

has raised. See O’Sullivan, 396 F. 3d at 854 (“In short, before permitting a plaintiff to challenge state


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governmental activity, the federal court has a duty to ensure, with careful attention, that the parties

before it have the requisite concrete adverseness that will ensure full presentation of the issues and

avoid unnecessary intrusion into state governmental processes.”). As evidenced by the nature of the

testimony given by Ms. Nowak, Mr. Tsertoes, Ms. Yacilla, and Ms. Harris, Plaintiffs seek to enjoin the

Clerk’s office from making changes to the policies at the Clerk’s office when a new person is elected

by the people. The supervisors were upset that the process was changed after Clerk Orr’s procedures

were in place for 30 years. But this Court should not intervene simply because Plaintiffs disagree with

the Clerk on whether it was necessary, or the best course of action, for the supervisors to rotate offices.

Such interference would unnecessarily constrain the Clerk’s office, making it impossible to effectively

administer the duties the citizens of Cook County elected her to perform.

            d. The costs associated with ongoing litigation heighten federalism concerns in
               this case.

        Consent decrees that impose wide-ranging and long-term obligations on, or require ongoing

judicial supervision of, state or local governments are extraordinary remedies that “raise sensitive

federalism concerns.” Horne v. Flores, 557 U.S. 433, 448 (2009). This is especially true when the impact

of the decree impacts the government’s budget priorities. Id. The Shakman litigation continues to

require a substantial amount of government funds to administer, while numerous other remedies exist

for an employee to seek redress for political discrimination claims.

        As a result, this Court should use its equitable power to vacate the Consent Decrees.

                                              Conclusion

        WHEREFORE, Defendant Cook County Clerk, respectfully requests this Court deny

Plaintiffs’ Motion because the 1991 Decree lacked standing and is unenforceable, and find the Court

lacks subject matter jurisdiction over the 1972 Decree because the complaint presented non-justiciable

political questions.. In the alternative, the Clerk requests this Court find Plaintiffs failed to prove a

violation of the 1972 or 1991 decree and vacate the 1991 and 1972 Decrees.

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                                        Respectfully submitted,

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